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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


ASHLEY MERARD,

                    Plaintiff,

v.                                            Case No: 6:19-cv-1864-PGB-LRH

MAGIC BURGERS, LLC.,

                    Defendant.
                                      /

                                      ORDER

      This cause comes before the Court on Defendant Magic Burgers, LLC’s

Motion for Partial Summary Judgment (Doc. 16 (the “Motion”)), Plaintiff Ashley

Merard’s response in opposition (Doc. 22), and Defendant’s reply thereto (Doc.

23). Upon consideration, the Motion is due to be granted.

I.    BACKGROUND

      Defendant employed Plaintiff from July 27, 2017 to August 23, 2017. (Doc.

21, ¶ 2). Prior to and during Plaintiff’s employment with Defendant, she had a

closed trachea tube visible at the front of her neck. (Id. ¶¶ 1–3).

      Following Plaintiff’s termination, she filed a Charge of Discrimination with

the Equal Employment Opportunity Commission (“EEOC”), alleging violations of

the Americans with Disabilities Act (“ADA”) and the Florida Civil Rights Act

(“FCRA”). (Doc. 16-1 (“Charge”)). The Charge states: “On August 23, 2017, I was

terminated by the acting General Manager when I arrived to begin my shift. I was
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told that my termination was due to my disability. I believe that I have been

discriminated against due to my disability, perceived disability and/or record of

disability.” (Id.). Plaintiff also filed an affidavit and an EEOC Charge

Questionnaire. (Docs. 16-2, 16-3). Plaintiff’s affidavit provides: “On August 23,

2017, at the beginning of my shift, I was told by the acting General Manager that I

was being terminated. I asked her why, and she hesitated to tell me, but eventually

expressed that my termination was a result of my disability.” (Doc. 16-2). Likewise,

Plaintiff’s EEOC Charge Questionnaire asserts that Plaintiff’s disability resulted in

her termination. (Doc. 16-3).

      On July 3, 2019, the EEOC issued a Notice of Right to Sue. (Doc. 16-4). On

September 27, 2019, Plaintiff initiated this action, alleging six causes of action: (1)

failure to accommodate under the ADA; (2) disparate treatment under the ADA;

(3) retaliation under the ADA; (4) failure to accommodate under the FCRA; (5)

disparate treatment under the FCRA; and (6) retaliation under the FCRA. (Doc. 1).

      Defendant now moves for summary judgment as to the failure to

accommodate and the retaliation claims. (Doc. 16). The matter is ripe for review.

II.   STANDARD OF REVIEW

      To prevail on a summary judgment motion, the movant must show “that

there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” FED. R. CIV. P. 56(a); see also Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986). The Court must “view the evidence and all factual

inferences therefrom in the light most favorable to the non-moving party, and



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resolve all reasonable doubts about the facts in favor of the non-movant.” Davila

v. Gladden, 777 F.3d 1198, 1203 (11th Cir. 2015) (quoting Carter v. City of

Melbourne, 731 F.3d 1161, 1166 (11th Cir. 2013) (per curiam)). “An issue of fact is

‘material’ if, under the applicable substantive law, it might affect the outcome of

the case. An issue of fact is ‘genuine’ if the record taken as a whole could lead a

rational trier of fact to find for the nonmoving party.” Harrison v. Culliver, 746

F.3d 1288, 1298 (11th Cir. 2014). “A mere ‘scintilla’ of evidence supporting the

opposing party’s position will not suffice; there must be enough of a showing that

the jury could reasonably find for that party.” Brooks v. Cnty. Comm’n of Jefferson

Cnty., 446 F.3d 1160, 1162 (11th Cir. 2006) (quoting Walker v. Darby, 911 F.2d

1573, 1577 (11th Cir. 1990)).

III.   DISCUSSION

       Defendant argues that summary judgment is proper on Plaintiff’s failure to

accommodate and retaliation claims. Because disability discrimination claims

under the FCRA and the ADA use the same framework, the Eleventh Circuit

considers them together. Holly v. Clairson Indus., L.L.C., 492 F.3d 1247, 1255 (11th

Cir. 2007).

       A.     The Failure to Accommodate Claims

       “To establish a prima facie case of disability discrimination, a plaintiff must

show that he (1) is disabled, (2) is a ‘qualified’ individual,’ and (3) was subjected to

unlawful discrimination because of his disability.” Samson v. Fed. Exp. Corp., 746

F.3d 1196, 1200 (11th Cir. 2014) (citing Greenberg v. BellSouth Telecomms., Inc.,



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498 F.3d 1258, 1263 (11th Cir. 2007)). Defendant does not dispute that Plaintiff is

a qualified individual with a disability. Rather, Defendant only disputes that

Plaintiff was subjected to unlawful discrimination because of her disability, the

third prong. (Doc. 16).

      “One way a plaintiff may establish the third prong is by showing that her

employer failed to provide her with a reasonable accommodation for her

disability.” Batson v. Salvation Army, 897 F.3d 1320, 1326 (11th Cir. 2018)

(citation omitted). A plaintiff cannot establish a failure to accommodate “without

evidence of a specific instance in which she needed an accommodation and was

denied one.” Batson, 897 F.3d at 1326; see Gaston v. Bellingrath Gardens & Home,

Inc., 167 F.3d 1361, 1363–64 (11th Cir. 1999) (“[T]he duty to provide a reasonable

accommodation is not triggered unless a specific demand for an accommodation

has been made . . . the initial burden of requesting an accommodation is on the

employee. Only after the employee has satisfied this burden and the employer fails

to provide that accommodation can the employee prevail on a claim that her

employer has discriminated against her.” (internal quotations and citations

omitted)).

      Here, Plaintiff’s deposition provides:

             Q:    Was there any point while you were employed at
                   Magic Burgers that you requested an
                   accommodation due to your trach tube that was
                   not –

             A:    Fulfilled?




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             Q:    — fulfilled?

             A:    No.

(Doc. 17, 53:9–18). In fact, Plaintiff’s deposition further demonstrates that

Defendant repeatedly granted her requests for accommodation. Plaintiff asked to

be moved from the kitchen, and the manager reassigned her to the cash register;

Plaintiff had trouble using bleach cleaning products, and personnel did not make

her clean with such products; Plaintiff could not lift heavy objects, and no one ever

required her to do so. (Id. at 49:13–21, 51:16–53:18). Accordingly, viewing the facts

in the light most favorable to Plaintiff, there is no genuine issue as to Defendant’s

provision of the requested accommodations. See FED. R. CIV. P. 56(a); Davila, 777

F.3d at 1203.

      In response, Plaintiff states that her trachea tube was “obvious from day

one,” that she did not necessarily “say the magic words, ‘may I appear every day at

work with my surgically placed tube in my neck,’” and that her termination

constituted the “first time” that Defendant “failed to provide [her] with her

reasonable accommodation of being able to work while having her surgically

placed trachea tube.” (Doc. 22, pp. 9–10). In other words, Plaintiff claims that

Defendant terminated her because of her disability.

      But Plaintiff’s alleged discriminatory dismissal does not constitute a failure

to accommodate claim. Plaintiff confuses requests for an accommodation with

disparate treatment, which are distinct claims under the ADA and the FCRA.

Toliver v. City of Jacksonville, No. 3:15-cv-1010, 2017 WL 1196637, at *5 (M.D.



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Fla. Apr. 31, 2017). A failure to accommodate claim prohibits “uniformly-applied,

disability-neutral policies.” Holly, 492 F.3d at 1263. “[T]he very purpose of

reasonable accommodation laws is to require employers to treat disabled

individuals differently in some circumstances—namely, when different treatment

would allow a disabled individual to perform the essential functions of his position

by accommodating his disability without posing an undue hardship on the

employer.” Id. at 1262–63. By contrast, a disparate treatment claim prohibits

arbitrarily applied, anti-disability policies. Cf. id. The very purpose of disparate

treatment laws is to prevent employers from treating disabled individuals

differently in some circumstances—namely when employers take adverse

employment action against disabled individuals because of their disability (i.e.,

when employers give non-disabled individuals more favorable treatment than

disabled individuals). Cf. Holly, 492 F.3d at 1263; Caporicci v. Chipotle Mexican

Grill, Inc., 189 F. Supp. 3d 1314, 1323 (M.D. Fla. 2016).

      Thus, Plaintiff cannot establish her failure to accommodate claims because

the undisputed evidence demonstrates that Defendant granted her requests for

accommodations, and there is no evidence of a specific instance in which she

needed an accommodation and Defendant denied it. See Batson, 897 F.3d at 1326.

Therefore, summary judgment in favor of Defendant on Counts I and IV is

appropriate.




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      B.      The Retaliation Claims

      To prevail on her retaliation claims, Plaintiff must show: (1) that she engaged

in a statutorily protected expression; (2) that she suffered an adverse employment

action; and (3) there was a causal link between the two. Frazier-White v. Gee, 818

F.3d 1249, 1258 (11th Cir. 2016). “The third element requires a showing of but-for

causation.” Id. (citing Univ. of Tex. Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2533–

34 (2013)).

      Defendant concedes that Plaintiff engaged in statutorily protected

expressions when she requested certain workplace accommodations, and

Defendant does not contest that Plaintiff’s termination constituted an adverse

employment action. (Doc. 16, p. 7). Defendant only argues that Plaintiff cannot

demonstrate “that her requests for accommodations were the ‘but-for’ cause of her

termination.” (Id.). Indeed, Plaintiff’s deposition avers the lack of but-for

causation between the two events:

              Q:   Do you believe that—the fact that you requested
                   certain accommodations due to you having a trach
                   tube, do you believe that those—the fact that you
                   requested an accommodation played any role in
                   your termination?

              A:   Do I believe my want for accommodations was why
                   I was terminated?

              Q:   Yes.

              A:   No.




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(Doc. 17, 73:5–13). Because Plaintiff admits that her requests for accommodation

did not cause her termination, the undisputed evidence cannot support her

retaliation claims.

       Plaintiff’s response erroneously states that Defendant did not raise the

causal link element of her retaliation claims as a basis for summary judgment.

(Doc. 22, p. 11). Plaintiff offers no evidence as to the connection between her

requests for accommodation and her termination, and she does not address the

admission in her own deposition testimony. Therefore, summary judgment in

favor of Defendant on Counts III and VI is appropriate because no reasonable jury

could find for Plaintiff in light of this evidence.1 See Brooks, 446 F.3d at 1162.

IV.    CONCLUSION

       For the aforementioned reasons, it is ORDERED and ADJUDGED that

Defendant’s Motion for Partial Summary Judgment (Doc. 16) as to Counts I, III,

IV, and VI of the Complaint is GRANTED.

       DONE AND ORDERED in Orlando, Florida on April 1, 2021.




Copies furnished to:

Counsel of Record

1   Because summary judgment is proper on the failure to accommodate and the retaliation
    claims for the above reasons, it is unnecessary for the Court to address Defendant’s failure to
    exhaust administrative remedies argument. (Doc. 16, pp. 4–6).



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Unrepresented Parties




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